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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

JASON GONZALES,                              )
                                             )
                      Plaintiff,             )
                                             )
               v.                            )       No. 16 cv 7915
                                             )
MICHAEL J. MADIGAN, et al.,                  )       Judge Matthew F. Kennelly
                                             )
                      Defendants.            )

               ORDER OF CONTEMPT AND FOR BODY ATTACHMENT

       THIS MATTER coming to be heard on an Order to Show Cause issued by this Court to

MICHAEL KUBA on February 13, 2019, under which Michael Kuba was ordered to appear

before this Court to show cause why he should not be found in contempt of this Court for his

failure to comply with a Subpoena that directed to him to appear for deposition in this action,

Michael Kuba having failed to appear before this Court as ordered, upon motion of Plaintiff in

open court for issuance of an Order directing body attachment of Michael Kuba,

THIS COURT FINDS:

       A.      On February 13, 2019 this Court issued an Order to Show Cause against Michael

Kuba upon finding that he had failed to comply with a Subpoena for deposition requiring his

appearance for questioning. (Docket No. 251.)

        B.     This Court’s Order to Show Cause of February 13, 2019 was lawfully served

upon Michael Kuba by personal service. (Docket No. 252.)
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        C.      In the Order to Show Cause served upon Michael Kuba, this Court ordered

Michael Kuba to appear before the Court on March 12, 2019 at 9:30 am, which was extended by

Order to March 21, 2019 at 9:30 am. (Docket No. 254.)

        D.      On March 21, 2019 Michael Kuba failed to appear before this Court.

IT IS ORDERED:

        1.    Michael Kuba is hereby found in contempt of this Court for his failure to comply
with a Subpoena of this Court.

        2.      Plaintiff’s Motion for issuance of a Writ of Body Attachment is GRANTED.

         3.     The United States Marshal for the Northern District of Illinois or for any district
in which Michael Kuba may be found, and their deputies, are directed to arrest Michael Kuba
and to keep him in the custody of the Attorney General of the United States until a United States
district or magistrate judge certifies to this court that Michael Kuba has caused himself fully to
comply with this Court's Subpoena and contempt adjudication, or certifies that Michael Kuba has
clearly demonstrated that he is unable to comply.

       4.     To effectuate this order, the United States Marshal is authorized to use necessary
and reasonable force in entering and searching the premises in which Michael Kuba may be
found.

        5.      Upon the arrest of Michael Kuba, the United States Marshal shall provide him
with a copy of this order and bring him immediately before a United States district or magistrate
judge in the district or districts in which he has been taken into custody. If Michael Kuba is
found within the Northern District of Illinois he is to be brought before this court. The United
States Marshal finally shall, to the extent feasible, notify the attorneys for the Plaintiff of the time
and place that the Michael Kuba will be brought before the district or magistrate judge. Upon
receipt of said notice, Plaintiff’s counsel is directed to immediately notify counsel for all
Defendants by email.



                                                        ___________________________________
                                                        United States District Court Judge
                                                        Matthew F. Kennelly

                                                        Date: March 25, 2019
